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FORM 2(a) (ND/SD MISS. DEC. 2011)



                                      UNITED STATES DISTRICT COURT
                                     _________ DISTRICT OF MISSISSIPPI
                                    SOUTHERN
 JOHN BARNHARDT, et al.,

                   Plaintiffs,
 and

 UNITED STATES OF AMERICA,
                                                           CIVIL ACTION
                   Plaintiff-Intervenor,
                                                           NO. 4:65-cv-01300-HTW-LRA
          v.

 MERIDIAN MUNICIPAL SEPARATE
 SCHOOL DISTRICT, et al.

                   Defendants.


                             NOTICE OF RECEIPT OF ORIGINAL DEPOSITION

TO:      All Counsel of Record

1.       Pursuant to L.U.CIV.R. 5(d)(2), notice is hereby given that I have received, and will
         retain as the custodian thereof, the original of the following deposition:
         Deponent:                           Lavonda Germany

         Taken at the instance of:           Plaintiffs, John Barnhardt, et al.


2.       Pursuant to L.U.CIV.R. 5(d)(2), a copy of the cover sheet accompanying this deposition is
         attached hereto as “Exhibit A.”



       December 7, 2018
               Date                                                        Signature



                                                       Natasha Merle, 48247
                                                                 Typed Name & Bar Number



                                     Attorney for:   Private Plaintiffs
